               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                          NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )
v.                                              )       Criminal No. 2:11-00002
                                                )       Judge Trauger
[5] JOSEPH ALLEN COWART                         )

                                        ORDER

      It is hereby ORDERED that the sentencing previously scheduled for September 26, 2013

is RESET for Monday, February 10, 2014, at 11:00 a.m.

      It is so ORDERED.

      ENTER this 23rd day of September 2013.


                                                ________________________________
                                                      ALETA A. TRAUGER
                                                        U.S. District Judge




Case 2:11-cr-00002      Document 1571      Filed 09/23/13    Page 1 of 1 PageID #: 4125
